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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF ALABAMA
                                    EASTERN DIVISION


UNITED STATES OF AMERICA                             )
                                                     )
                                                     )
v                                                    )       3:05-CR-234-A
                                                     )       [WO]
                                                     )
TYRONE WHITE                                         )

                                 O R D E R ON MOTIONS

       After due consideration of oral arguments by counsel1 and applicable rules, it is, for good

cause, ORDERED that:

       1.     Defendant’s Motion to Quash Subpoenas and Delay Hearing on Same (Doc. 86,

              Dec. 7, 2005) is DENIED AS MOOTED by the Supplemental Motion to Quash

              Subpoenas and Motion for Protective Order Restricting Discovery (Doc. 89, Dec.

              9, 2005).

       2.     Defendant’ Motion for Protective Order Restricting Discovery (Doc. 89) is DENIED

              AS MOOTED by the United States’ representation that it seeks no discovery

              independent of the “digital recording” which is the subject of its subpoena for

              production at the ongoing evidentiary hearing on Defendant’s Motion to Dismiss

              Indictment and for Sanctions ( Doc. 39 ) and its further representation that it seeks

              this recording solely for the court’s consideration of the issues in controversy on the




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         Assistant United States Attorneys Todd Brown and David Cook, appearing for the
United States; Atty. Ron Wise, appearing on the pending motions to quash subpoenas served on
Julian L. McPhillips, Jr., Sim Pettway, Allison Highley, and Billy Smith, and Defendant Tyrone
White.
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       dismissal motion.

3.     Defendant’s Supplemental Motion to Quash Subpoenas (Doc. 89) is GRANTED

       pursuant to the court’s findings that (a) the requested evidence is not in the

       possession or control of the persons served; (b) assuming that the defendant possesses

       a device from which the recording can be retrieved, the requested discovery by

       subpoena to him is not authorized by the Federal Rules of Criminal Procedure and

       would infringe on his constitutional privilege against self-incrimination; and (c) neither

       the recorded evidence – nor testimony from any of the persons served – about the

       whereabouts or substance of the recorded evidence – is material or relevant to the

       court’s determination of the issues submitted at the completed evidentiary hearing on

       defendant’s dismissal motion for misconduct by investigators.



Done this 9th day of December, 2005.



                                       /s/ Delores R. Boyd
                                       DELORES R. BOYD
                                       UNITED STATES MAGISTRATE JUDGE




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